4:09-cr-03091-JMG-JMD       Doc # 260     Filed: 11/21/11    Page 1 of 1 - Page ID # 2350




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                  4:09CR3091-2
                                          )
             V.                           )
                                          )
JOBITA WILLETTA AVERY,                    )                 MEMORANDUM
                                          )                  AND ORDER
                    Defendant.            )
                                          )

       Jobita Willetta Avery seeks a reduction in her sentence because of the retroactive
amendments to the “crack” Guidelines. I will deny the motion. After I sustained her
counsel’s objection to drug quantity, Avery’s base offense level for one kilo of crack and
165 grams of powder cocaine was set at a level 34. (Transcript of Sentencing (filing no.
215 at CM/ECF p. 30.)) While the method that was used to calculate the quantity
triggering a level 34 at the time of sentencing was different than the method used in the
retroactive amendments, the result is the same. Either way, the base offense level would
be 34. Because the retroactive amendments provide her with no relief,

      IT IS ORDERED that:

      1.     The motion for sentence reduction (filing no. 258) and motion to appoint
             counsel (filing no. 259) are denied.

      2.     The Clerk shall provide a copy of this document to Mike Norton,
             Supervisory United States Probation Officer, to David Stickman, Federal
             Public Defender, to the prosecutor and to Ms. Avery.

      DATED this 21 st day of November, 2011.

                                         BY THE COURT:
                                         Richard G. Kopf
                                         United States District Judge
